
According to the Order of this Court of the 24th Instant and Adjournment to this Day, This Cause coming to be heard upon Bill and Answer in the presence of Counsel learned on both sides; And upon Reading Considering and Debating the several parts of the Complainants Bill and the Defendants two several Answers put into the same and upon a hearing of what could be alledged on either Side, The Court is unanimously of Opinion that the Complainants Bill of Complaint doth not contain Sufficient Matter of Equity either to intitle them to an Injunction in this Cause or to retain the same in this Court; Wherefore by Order of this Court the Injunction is denied and the Bill is Dismissed.
Alexr Stewart Deputy Register in Chancery
